                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                        :
In re:                                                  :        Chapter 11
                                                        :
M & G USA CORPORATION, et al.,1                         :        Case No. 17-12307 (BLS)
                                                        :
                   Debtors.                             :        (Jointly Administered)
                                                        :

                      DEBTORS' FIRST OMNIBUS MOTION FOR
                     ENTRY OF AN ORDER AUTHORIZING THEM
                 TO REJECT CERTAIN EXECUTORY CONTRACTS AND
             UNEXPIRED LEASES NUNC PRO TUNC TO THE REJECTION DATE

                 PARTIES RECEIVING THIS MOTION
              SHOULD LOCATE THEIR NAMES AND THEIR
  LEASES AND/OR CONTRACTS LISTED ON EXHIBIT B ATTACHED HERETO

         The above-captioned debtors and debtors in possession (collectively, the "Debtors"),

move the Court (this "Motion"), pursuant to sections 105 and 365 of title 11 of the United States

Code (the "Bankruptcy Code") and Rule 6006 of the Federal Rules of Bankruptcy Procedure

(the "Bankruptcy Rules"), for the entry of an order, in substantially the form attached as

Exhibit A (the "Proposed Order"), authorizing them to reject the executory contracts and

unexpired leases identified in Exhibit B (collectively, the "Rejected Contracts"),2 nunc pro tunc

to the date of this Motion (the "Rejection Date"). In support of this Motion, the Debtors

respectfully state as follows:


         1
                   The Debtors are the following twelve entities (the last four digits of their respective taxpayer
identification numbers follow in parentheses): M & G USA Corporation (3449), M & G Resins USA, LLC (3236),
M & G Polymers USA, LLC (7593), M & G Finance Corporation (4230), M&G Waters USA, LLC (2195), Mossi &
Ghisolfi International S.à r.l. (1270), M&G Chemicals S.A. (N/A), M&G Capital S.à r.l. (7812), M & G USA
Holding, LLC (3451), Chemtex International Inc. (7695), Chemtex Far East, Ltd. (2062) and Indo American
Investments, Inc. (9208). The Debtors' noticing address in these chapter 11 cases is 450 Gears Road, Suite 240,
Houston, Texas 77067.
         2
                 Exhibit B attached hereto lists (a) the counterparty to each of the Rejected Contracts (each,
a "Counterparty" and collectively, the "Counterparties"), (b) each Counterparty's address, (c) a short description of
each Rejected Contract and (d) the Debtor party to the Rejected Contract.


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                                         JURISDICTION AND VENUE

        1.         This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue for this matter is

proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 BACKGROUND

        A.         General Background

        2.         On October 24, 2017, Debtor M&G Polymers USA, LLC ("M&G Polymers")

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code and, thereafter, on

October 30, 2017 (the "Petition Date"), each of the other Debtors commenced chapter 11 cases

before this Court (together with the chapter 11 case of M&G Polymers, the "Cases"). The

Debtors are continuing in possession of their properties and are managing their businesses, as

debtors in possession, pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        3.         An Official Committee of Unsecured Creditors (the "Committee") was appointed

in these Cases on November 13, 2017 (Docket No. 146). Additional information regarding the

Debtors and these Cases, including the Debtors' businesses, corporate structure and financial

condition, is set forth in the Declaration of Dennis Stogsdill in Support of First Day Pleadings

(Docket No. 3) filed on October 31, 2017 and incorporated herein by reference.

        B.         Rejected Contracts

        4.         In connection with their ongoing sale process,3 the Debtors (with the assistance of

their advisors) have been actively reviewing and evaluating their executory contracts and

unexpired leases, including evaluating the ongoing cost of continuing to perform under such

        3
                  See Order (I)(A) Approving Bidding Procedures for the Sale of Certain of the Debtors' Assets,
(B) Authorizing the Debtors to Enter into One or More Stalking Horse Purchase Agreements and to Provide Bid
Protections Thereunder, (C) Scheduling an Auction and Approving the Form and Manner of Notice Thereof,
(D) Approving Assumption and Assignment Procedures and (E) Scheduling a Sale Hearing and Approving the Form
and Manner of Notice Thereof and (II) Granting Related Relief (Docket No. 490) (the "Bidding Procedures Order").


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contracts and leases and their potential marketability. In connection with this review, the

Debtors have determined to reject the Rejected Contracts because they (a) are unmarketable and

thus unlikely to be assumed and assigned as part of the Debtors' sale process, (b) will accrue

administrative expenses without any accompanying benefit to the Debtors' estates and/or (c) are

no longer necessary to the Debtors' limited, ongoing operations.

        5.         For example, by this Motion, the Debtors are seeking to reject (a) certain railcar

leases through which Debtors M & G Polymers leases hundreds of railcars and accompanying

storage facilities and (b) a product supply agreement with a certain non-Debtor affiliate. The

Rejected Contracts either provide no ongoing benefit to the Debtors' estates or provide benefits

that are substantially less than the corresponding costs. Therefore, due to the burden the

Rejected Contracts place on the Debtors' estates, the Debtors are requesting that the Rejected

Contracts be rejected nunc pro tunc to the date of this Motion.

                                        RELIEF REQUESTED

        6.         The Debtors request entry of an order, in substantially the form of the Proposed

Order, authorizing them to reject the Rejected Contracts, nunc pro tunc to the Rejection Date.

                                     BASIS FOR RELIEF REQUESTED

        A.         Rejection of the Rejected Contracts Is an Appropriate Exercise of the
                   Debtors' Business Judgment and Should Be Approved

        7.         Section 365(a) of the Bankruptcy Code provides that a debtor "subject to the

court's approval, may assume or reject any executory contract or unexpired lease of the debtor."

11 U.S.C. § 365(a); see also L.R.S.C. Co. v. Rickel Home Centers, Inc. (In re Rickel Home

Centers, Inc.), 209 F.3d 291, 298 (3d Cir. 2000) (section 365 of the Bankruptcy Code "allows a

trustee to relieve the bankruptcy estate of burdensome agreements which have not been

completely performed"). Courts routinely approve motions to reject executory contracts and


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unexpired leases upon a showing that a debtor's decision to take such action will benefit the

debtor's estate and is an exercise of sound business judgment. See Krebs Chrysler-Plymouth,

Inc. v. Valley Motors, Inc., 141 F.3d 490, 492 (3d Cir. 1998); In re Taylor, 913 F.2d 102, 107 (3d

Cir. 1990); In re Armstrong World Indus., Inc., 348 B.R. 136, 162 (Bankr. D. Del. 2006)

("Courts have uniformly deferred to the business judgment of the debtor to determine whether

the rejection of an executory contract or unexpired lease by the debtor is appropriate under

section 365(a) of the Bankruptcy Code.").

        8.         Courts generally will not second-guess a debtor's reasonable and good faith

business judgment concerning the rejection of an executory contract or unexpired lease, unless

the decision is the product of bad faith, whim or caprice. See In re HQ Global Holdings, Inc.,

290 B.R. 507, 511 (Bankr. D. Del. 2003) (applying a business judgment standard, absent a

showing of bad faith, whim, or caprice); In re Trans World Airlines, Inc., 261 B.R. 103, 121

(Bankr. D. Del. 2001) (same); see also Summit Land Co. v. Allen (In re Summit Land. Co.),

13 B.R. 310, 315 (Bankr. D. Utah 1981) (absent extraordinary circumstance, court approval of a

debtor's decision to assume or reject an executory contract "should be granted as a matter of

course"). The standard merely requires a showing that either assumption or rejection of the

executory contract or unexpired lease will benefit the debtor's estate. See Sharon Steel Corp. v.

Nat’l Fuel Gas Distribution Cor. (In re Sharon Steel Corp.), 872 F.2d 36, 40 (3d Cir. 1989).

        9.         The Debtors have demonstrated that rejection of the Rejected Contracts is an

exercise of their sound business judgment and in the best interests of the estates. The Debtors

have determined that the Rejected Contracts are no longer necessary to the Debtors' limited,

ongoing operations. Nor are the Rejected Contracts likely to generate any value in the Debtors'

sale process. Instead, absent rejection of the Rejected Contracts, the Debtors will continue to



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accrue avoidable administrative expenses without any accompanying benefit to their estates to

the detriment of the Debtors' stakeholders. Because rejecting the Rejected Contracts will benefit

the Debtors' estates, the Court should grant the relief requested herein.

        B.         Rejecting the Rejected Contracts Nunc Pro Tunc to the Rejection Date Is
                   Reasonable and Appropriate

        10.        Bankruptcy courts are empowered to grant retroactive rejection of an executory

contract or unexpired lease under section 105(a) and 365(a) of the Bankruptcy Code based on the

equities of the circumstances. See In re Chi-Chi's, Inc., 305 B.R. 396, 399 (Bankr. D. Del. 2004)

(acknowledging that a bankruptcy court may approve a rejection retroactive to the date the

motion is filed after balancing the equities in the particular case); In re Philadelphia

Newspapers, LLC, 424 B.R. 178, 185 (Bankr. E.D. Pa. 2010) (authorizing retroacting rejection of

executory contract where there was "no obvious prejudice to [the counterparty] in approving

rejection retroactively."); see also Thinking Machines Corp. v. Mellon Financial Servs. Corp. (In

re Thinking Machines Corp.), 67 F.3d 1021, 1028 (1st Cir. 1995) (finding that, "[i]n the section

365 context, this means that bankruptcy courts may enter retroactive orders of approval, and

should do so when the balance of equities preponderates in favor of such remediation").

        11.        Under the present circumstances, the balance of the equities favors rejection of

the Rejected Contracts nunc pro tunc to the date of this Motion. Absent such relief, the Debtors

will be forced to incur administrative expenses under the Rejected Contracts with little to no

accompanying benefit. On the other hand, the Counterparties to the Rejected Contracts will not

be unduly prejudiced if rejection of the Rejected Contracts is deemed effective as of the date of

this Motion. The Debtors notified most (if not all) Counterparties of their intent to reject the

Rejected Contracts prior to the filing of this Motion, and with respect to those Counterparties that




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the Debtors missed, the filing of this Motion will serve as notice of the Debtors' intent to reject

such contracts.

        12.        Finally, courts in this district have approved relief similar to that requested herein.

See, e.g., In re FILIP Technologies, Inc., No. 16-12192 (KG) (Bankr. D. Del. Jan. 10, 2017)

(Docket No. 206) (authorizing rejection of executory contracts nunc pro tunc to date of filing

motion); In re AEI Winddown, Inc., No. 17-10500 (KJC) (Bankr. D. Del. Sept. 26, 2017) (Docket

No. 367) (authorizing retroactive rejection of executory contracts); In re TSA WD Holdings, Inc.,

No. 16-10527 (MFW) (Bankr. D. Del. Feb. 22, 2017) (Docket No. 3438) (same); In re Samson

Resources Corporation, et al., Case No. 15-11934 (CSS) (Bankr. D. Del. Jul. 12, 2016) (Docket

No. 1172) (same). Accordingly, to avoid incurring additional unnecessary administrative

expenses associated with the Rejected Contracts, the Debtors respectfully request that the Court

authorize the Debtors to reject the Rejected Contracts effective nunc pro tunc to the date of this

Motion.

        C.         Claims Bar Date

        13.        The Counterparties may seek to assert a rejection damage claim under section 502

of the Bankruptcy Code or other claims in connection with the rejection of the Rejected

Contracts and must do so in accordance with any claims bar date set by the Court. The Debtors

will give notice of such bar date to the Counterparties, in accordance with any orders of this

Court. Nothing in this Motion shall be deemed or construed to: (a) constitute an admission as to

the validity or priority of any claim against the Debtors; and/or (b) constitute a waiver of the

Debtors' rights to dispute any claim.




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                           COMPLIANCE WITH BANKRUPTCY RULE 6006(f)

        14.        Bankruptcy Rule 6006(f) establishes requirements for a motion to reject multiple

executory contracts or unexpired leases that are not between the same parties. Bankruptcy Rule

6006(f) states, in part, that such a motion shall:

        (1)        state in a conspicuous place that parties receiving the omnibus motion should
                   locate their names and their contracts or leases listed in the motion;
        (2)        list parties alphabetically and identify the corresponding contract or lease;
        (3)        specify the terms, including the curing of defaults, for each requested assumption
                   or assignment;
        (4)        specify the terms, including the identity of each assignee and the adequate
                   assurance of future performance by each assignee, for each requested assignment;
        (5)        be numbered consecutively with other omnibus motions to assume, assign, or
                   reject executory contracts or unexpired leases; and
        (6)        be limited to no more than 100 executory contracts or unexpired leases.

The Debtors submit that they have satisfied the requirements of Bankruptcy Rule 6006(f).

                                                     NOTICE

        15.        Notice of this Motion shall be given to (a) the Office of the United States Trustee

for the District of Delaware; (b) the Internal Revenue Service, the Securities and Exchange

Commission and any other federal, state or local governmental agency to the extent required by

the Bankruptcy Code, the Bankruptcy Rules, the Local Rules or order of the Court; (c) Magnate

S.á r.l. and its counsel, Kirkland & Ellis LLP; (d) DAK Americas LLC and its counsel, Weil,

Gotshal & Manges LLP; (e) Banco Inbursa S.A., Institución De Banca Multiple, Grupo

Financiero Inbursa and its counsel, Cleary Gottlieb Steen & Hamilton LLP and ; (f) the

Committee and its proposed counsel, Milbank, Tweed, Hadley & McCloy LLP; (g) any party

that has requested notice pursuant to Bankruptcy Rule 2002 at the time of noticing; and (h) the

Counterparties. The Debtors submit that no other or further notice need be provided.




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                                            NO PRIOR REQUEST

        16.        No prior request for the relief sought herein has been made to this Court or any

other court.



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        WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Order

and grant such other and further relief as may be appropriate.


Dated: December 21, 2017                       PACHULSKI STANG ZIEHL & JONES LLP

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